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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTRlCT OF FLORIDA
FORT LAUDERDALE DEVIS|ON
in Re:
Case No. 18-24646-RBR
Michael Pagano

Debtor.
l

CHA_F_’_I§R 7 TRUSTE§'S APPL|CATEON TO EMP|_._.OY _BK GEMAL
R_EAL_ESTAT|_Z_-‘.__§_I§RVIC§S TO PROCURE LEND§R APPROV|_“_:°.Q PU§Z_.._|_Q_
SHORT SAL_E NUNC PRO TUNC TO F_E_§RUARV 18. 2019

The Chapter 7 Trustee, Chad Paiva, files this Application to Employ BK Glcbat
Real Estate Services to Procure Lender Approved Pubiic Shcrt Safe Nunc Pro Tunc to
February 18, 2019, pursuant to 11 U.S.C. § 327 and F.R.B.P. 2014(a), and in support
thereof states as foliows:

t. Chad Paiva, is the duly qualified and acting Chapter 7 trustee of the
bankruptcy estate of Nlichael Pagano.

2. The Debtor is the sole owner of non-exempt residential real property and
improvements located at 31 Seaside Court, |Viargate, N.i 08402 (“Real Property”). A¥
true and correct copy of the current deed of ownership containing the legal description
for the Real Property is attached hereto as Exhibit “A”.

3. The Reai Property is property of the estate pursuant to 11 U.S.C. §541(3)

4. TheReat Property is subject to a first mortgage in favor of lVlr. Cooper
flk/a Nationstar Mortgage.

5. According to the lVEotion for relief from stay fiied by Mr. Cooper (DE#’IZ),
the outstanding debt against the Real Property as of £)ecember 12, 2(}18 was

$1,729,899.96 milfion dolfars and the mortgage is ten plus years in arrears.

 

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6. Tnere is no dispute that the mortgage debt against the Real Property
substantiaiiy exceeds the value of the Reai Property.

7. ina l-§andbook for Cnapter 7 Trustees published by the Executive Office
ot the United States Trustee, states on pages 4 - 14 under Section 9 “Sales of Assets”
(a) General Standards “A trustee may seti assets only if the sale will resuit in a
meaningqu distribution to creditors The Section further states "the trustee may seek a
“carve-out" frorn a secured creditor and seli the property at issue if the “carve-out” wiil
resuit in a meaningful distribution to creditors Furtner, the Sectiori states “The trustee
must also consider whether the cost of administration or tax consequences of any sale
would significantly erode or exhaust the estate’s equity interest in the asset.”

8. BK Global Reai Estate Services (“BK Globai”), a division of BK G|obai
t-toidings, LLC, has expertise and experience in assisting bankruptcy trustees in
negotiating with secured creditors to accomplish the toilewing:

a. Seil the Reai Property under t'l U.S.C. §363(b) to whichever
party the Chapter 7 Trustee determines to have made the best
qualified offer with the saie approved by the Court, pursuant to
t1 U.S.C. § 363;

b. Negotiate the reiease price for the senior mortgage with a
wavier of ali claims against the estate with respect to the Real
Property (including any deficiency clairris resuiting from the
proposed sate); and

c. Negotiate the estate’s' surcharge, real estate commission and
ciosing costs in conjunction with the §363 sale of the Real
Estate so as to provide a meaningful carve out for the benefit of
the unsecured creditors of the estate

9. BK Giobai wilt assist the Chapter 7 Trustee in negotiations with the first

mortgage hoider to obtain the consent for the sale ot the Reai Property witi'i an agreed

 

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upon carve out for the estate, approval of the real estate commission of 6%, with BK
Giobai to receive 2% ot that commission, and closing costs.

10. BK Globa| wili not be entitied to any fees if the first mortgage holder does
not grant its consent or the Court does not grant the motion to approve the saie ot the
Reat Property.

1‘}. ln no event wiii the bankruptcy estate have any obiigation to pay Bi(
Giobat or the reaitor to be retained by the Trustee to iist and market the Reai Property
for their services should there be no sale of the Reai Estate. The terrns of the iisting
agreement and this Application provide that BK Giobai and listing reai estate agent and
any participating agent are only entitied to payment if and when (a) the mortgage
iender, Nir. Cooper, consents to the saie of the Real Property with an agreed upon
carve out for the estate (b) a motion to approve a contract for sale agreed to by lVlr.
Cooper, is granted and (c) the Reai Property is sold, in which event BK Giobal and
iisting agent will receive a six percent '(6%) reai estate brokerage commission and
obtain reimbursement of any out-of-pocket expenses

12. The Trustee believes that the highest and best vaiue for the Reai Property
Wiil be generated through a sale in which the Reai Property is wideiy marketed to the
pubiic and offered at the highest price that the market wilt bear. The Trustee further
beiieves that such a saie is in the best interest of the Det)tor's bankruptcy estate, but
can only be achieved it Nlr. Cooper consents to the sale. 'i'he Chapter 7 trustee
beiieves that retaining BK Giobai and/or an associated real estate professional to obtain

the secured creditor’s consent is in the best interest of the Debtor’s bankruptcy estate.

 

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13. The Trustee believes that the terms of employment and compensation of
2% of the 6% reai estate commission as set forth in this application and the listing
agreement between BK Giobal and the Trustee attached hereto as Exhibit “B” are
reasonabie in light of the extensive experience BK Globai has with negotiating short
sales of this kind, and the nature ot the services they provide.

14. As set forth in the affidavit attached hereto as Exhibit “,C" BK Giobai is a
disinterested person within the meaning of Section 101 (14) of the Bankruptcy Code and
Federal Ruies of Bankruptcy Procedure 2014 and 2016(a).

WHEREFORE, based upon the,foregoing, the Chapter 7 trustee seeks the
Court’s authority to retain BK Globai in this case and requests that the Court approve
the compensation arrangements set forth in the listing agreement and this application,
pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for such other
and further relief as the Court determines is appropriate .

i HEREBY CERT|FY that a true and correct copy ot the foregoing has been
furnished by regular U.S. |Vlai| to the parties iisted beiow in the manner indicated on this
the 21st day of February, 2019.

By: /s/ Chad S. Paiva. Trustee
Chad S. Paiva, Trustee
525 Okeechobee Boutevard,
Suite #900
West Paim Beach FL 33401
Telephone: (561) 227-2370
Ernail: trustee@gmiaw.com

Via ECFICM:

- Kenia L Molina kmolina@fiwiaw.com, kenia@keniamoiina.com
» Ofiice of the US Trustee USTPRegionZ‘i .lVllVl.ECF@usdoj.gov

,__,_W(;as_e 18-24_646-RB*R Doc 33 Filed 02/21_[19 ____'~_,Page 5 of _2_1

Via Regu|ar Nlai|:

Niichaei A Pagano, Debtor
3209 North East 10 St #4
Pompano Beach, FL 33062

Patrick Butier

BK Global Real Estate Services
1095 Broken Sound Parkway, N.W.
Suite 100

Boca Raton, FL 33487

ALi. CRED|TORS AND |NTERESTED PART|ES LlSTED ON Ti~|E COURT NIA|LZNG
MATR|X ATTACHED HERETO

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(a) For a consideration of less than $100 00

 

 

 

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GAL P'I‘EO

ALL THAT CERTAHQ' iot, tract or parcel of land and premises situate, lying and being in the
City of Margate, County of Atlantic and State of New Jcrscy; bounded and described as follows:

BEG!NNING at the intersection oftire East iine of Seoside Court (width varies) and the division

iinc between Lots 77 end 1 in B!ock 610.01 as shown on the Margate City Tax Map and
extending from said BEGINNING point; thence:

i) North 68 degrees 05 minutes 23.8 seconds Wcst, in and aiong said line adistance of
149.654 feet to a point; thence

2) Nocth 25 degrees 33 minutes 58 seconds East, a distance of 19.652 feet to a point; thence
3) North 66 degrees 30 minutes 00 seconds East, a distance of 94.62 feet to a pcint; thence

4) South 26 degrees 57 minutes 214 seconds East, a distance of 74.0]4 feet co a point;
thence

5) South 68 degrees 05 minutes 23.8 seconds East, a distance of 19.253 feet to a point in the
rifon East line of Seaside Court; thence

6) In a Souther!y direction and carving to the right along the arc of a circle having a radius
of50.00 fcet, en erc distance cf 40.60 feet to the point and piece cf BEGMNMG.

TOGETHBR W'ITH a 13.00 feet wide drainage easement along the aforesaid division line
between Lots 77 and 1 in Block 610.01. Said easements Nortireriy line being !0.00 feet North of
said division line.

KNOWN AS Lot 7? in Block 616.0! on the 'i`ax Map ofthc City of Margate.
BEING the same premises which became vested in Joseph R. Pagano and Miclzaci Andxony

Pagano, as Joiot Tenants, by deed from Joseph R. Pagano dated September 23, 2002 and
recorded chcmbcr 7, 2002 as Instrument #2!01522 in the ATIAN’I`IC County Cleric’s OHice.

 

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The motaddreasofthc Property ia:
31 Snllde GL, mmata, N.l

4. ‘iype ofDeed. Tbis Deed w called s QuiteiaimDeed. The Grantor makes nepromisea en to ownership or titlo, but
simphrtmnsferswimtever interest the Grantor has to the Granbee.

5. Slgnature¢. TheGrmtorsignathixDoedasofthedateatthetcpofmenrstpage. Ift.heGran£or-isa
ecrpurathu, this Dcod insigned and attested to hyits proporcorporate officers and its corporate seal is amxad.
(?r`mt name below each eignature).

 

 

Wimesaad or Atbeshed by: - (SE&I)
M/§'MJ )t csee)
J . PAG 0
STATE OF NEW JERSEY, GOUNTY OF ATLAN'¥`¥G SS:
I CERTIFY that on Jlru.my _A_E_'-> 2003
JQBEPH R. PAGAN°

personally camebefe\'e-me and stated to my satisfaction thatthia person (orf!more than cne, each perecn):
(a)wos Htoms.im' ofthis `Deed;
(b) m:acutadthisl}ead ashiscrhorownaet; and,

(c)medethial)eadfor$ 1330 aautofniiandectnalee'naidm%ionpaidcrtohepaidfortho
transfer cf tide {Buch consideration h defined in M§A, 45:15-5.)

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STATE OF NEW .}ERSEY, COUNTY OF 381
I CERTIFY that on

 

personally came beforeme and stated to my ost-infection that tide person (oerore than one, each pereon}:
(c) was the nmkorof|;he attached Deed;
(b) was authorized w and did execute this Dasd m

of dmentitqrnamedinthisl)oed;

(c) made thiaDood!or$ 1.0¢ asthe wllandaetua| commanded paid orI:o bopsid for the
transferc!&tie. (Such consideration le defined iam 48:15-5.); and
(d) executed thin Deed as the actofthe entity.

 

 

   
 

 

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EXHIBIT A

BK Global Real Estate Brokerage Listing Agreement
This Real Estate Brokerage Listing Agreernent (“Agreen‘rent”) is between

Chad Paiva solely in his capacity as Chapter 7 Bankruptcy Trustee for Michael Pagano,
Case No.: 18-24646-RBR, United States Bankruptcy Court, Southern Disti'ict of Florida
(“Trustee”), and BK Global Real Estate Services LLC (“Broker”)

Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in
the sale of the real property (“ Real Property”) described below:

31 SEASIDE CT MARGATE, NJ 08402

Upon full execution of a contract for sale and purchase of the Real Property and court approval,
all rights and obligations of this Agreernent will automatically extend through the date of the
actual closing of the sales contract Trustee and Broker acknowledge that this Agreernent does
not guarantee a sale. This Real Property will be offered to any person without regard to race,
color, religion, sex, handicap, familial status, national origin, or any other factor protected by
federal, state, or local law. Trustee certifies and represents that he is legally entitled to convey
solely the Debtor’s interest in the Real Property and all improvements The Trustee makes no
representation as to the rights of the Debtor’s non»debtor spouse, lanet Pagano, in the Real
Property under New Iersey law.

Pricc: The starting listing price of the Real Property will be: $649,000. If there are no acceptable
offers after 15 days, the list price will be reduced 4% and will reoccur every 20 days until the
eariier of the expiration of the listing agreement, the execution of a contract for the sale of the
Real Property, or the first mortgage lender, Mr. Cooper, obtaining relief from the automatic stay.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to
procure the consent and agreement of the senior mortgagee (“Secured Creditor”) to:

a) Sell the Real Property under ll U.S.C. §363(b) to whichever third party the rTrustee
determines to have made the best qualified offer during a public sale approved by the
conrt;

b) Release its lien with respect to the Real Property; and

c) Agree to a ll U.S.C. §506 surcharge in conjunction with the §363 sale motion for the
Real Property to pay an agreed upon carve out to the bankruptcy estate, and all closing
costs of sale including commissions payable to BK Global and the local real estate

broker.

Brokers Duties: Broker duties will include but will not be limited to the following services;

\Brr

 

 

 

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c Researching the real estate, running title and lien searches to identify creditors for resolution
and any title issues

0 Advising tire Trustee of any issues and discussing potential resolutions

0 Conducting the resolutions under the Trustee’s direction

» Assisting the Trustee in the preparation of documents and information for employment of
the BK Global and local listing broker.
Making and identifying the Correct contact With the §rstmortgage holder, Mr. Cooper..
Notifying Mr. Cooper of any contract for sale, and obtaining approval for the sale of the
Real Property from Mr. Cooper.

¢ Assisting the Trustee innegotiating an acceptable sales price, release price and carve-out for
the estate.

¢ Use of the BK Global technologyplatform.

¢ Assist the trustee in the review of all offers and coordinate the final documentation of the
offer accepted by the trustee.

¢ Managing contractrequirements such as inspections, appraisals and HOA applications

0 Coordinating closings and assisting the trustee in the collection of required information for
courtiiling.

0 Closing the transaction and ensure the estate has received the agreed upon carve out.

Local Listing Brokers Obligations: Broker will select a Local Listing Broker to co-list the
Real Property and provide limited services Trustee will retain both Broker and the Local
Listing Broker to market the Real Property for sale to the public under a separate listing
agreement

Local Listing Brokers Duties: Local Listing Brokers duties will include but will not be limited
to the following services;

c inspecting the Real Property and completing a broker’s price opinion
o Listing the Real Property in the multiple listing service (MLS).
o Posting a for sale sign in the yard and coordinating showings

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

a) Cooperate with Broker in carryin

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c) File all court motions and documents in a timely manner to ensure a successful sale of the
Property.

d) Advise Broker of any special issues or court requirements

g out the purpose of this Agreement
=:’“- :.-= ‘. ' -- ’ =.-.’-

     

Ccmpcnsation: 6% Real Estate Coinmission will be paid out of the proceeds off the sale and
is due and paid at closing The commission will cover the costs of the Broker, Local Listlng
Broker and Buyers Broker. The commission will be paid as follows:

¢ 2% Broker

 

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¢ 2% Local Listing Broker
¢ 2% Buyers Broker

Tcrm of Agreement: The term of this Agreenicnt will commence when signed by the Trustee
and the court approves it. 'l`his Agreement will automatically terminate upon the closing of the
sale of the Property, or it may be terminated by either party for any or no reason after 180 days
from commencement In addition, this Agreernent will be terminated if the Trustee files a
Report of No Distribution, files a Notice of Abandonrnent of the subject property, or submits a
Trustee’S Final Report to the Office of the United States 'l`rustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an
individual capacity, but solely as bankruptcy trustee of the Michael Pagano bankruptcy estate,
(b) Brokcr does not and Will not have any right or claim with respect to the estate and
(c) Brokers sole recourse for payment of real estate commission, fees and expenses will be paid
at closing with court approval and consent of the secured creditor.

This Agreernent and the attached Addendum constitutes the complete agreement on this matter,
and may not be modified or amended except in a writing signed by both parties

The effective date of this agreement is EM(_MDH .

BROKER:

By: : 5 g §§ Acknowledged and agreed as of the date set forth above.

Patrick Butler, Broker-in-Charge

 

TRUSTEE:

M Acknowledged and agreed as of the date set forth above.

Chad Paiva, not individually but solely as Trustee in the referenced matter.

 

 

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ADDENDUM TO SEPARATE LISTlNG AGREEMENTS BETWEEN THE
CHATPER 7 TRUSTEE, CHAD S. PAlVA, AND BOTH BK GLOBAL AND
SOLElL SOTHEBY’S |NTERNATlONAL REALTY FOR SAl_E OF REAL
PROPERTY LOCATED AT 31 SEASIDE COURT, MARGATE, NEW
JERSEY (“RE!-ll. PROPERTY”)

1. Retention of the Exc|usive Broker, BK Global, and l.ocal Listing Agent,
Scleil Sotheby’s |nternational Realty. and the listing agreement executed by the Trustee
with both entitles is subject to bankruptcy court approval

2. Except for Warranty ot title and as set forth in paragraph 3 below, the sale
of the Real Property is “as Es”, “where is", and without warranty or representation either
express or implied

3. The sale is contingent upon the Debtor's non-debtor spouse, Janet
Pagano, executing any documents of transfer as may be required under New dersey

law'

4. This is a short sale. />\ccordinglyl any sale for the contract of the Real
Property is contingent upon the approval of the mortgage lender, Mr. Cooper t/k!a
Nationsiar Mortgage and the Trustee’s acceptance of the carve out for the bankruptcy
estate offered by lVlr. Cooper.

5. The Trustee’s acceptance of sale is contingent upon |Vlr. Cooper agreeing
to the 6% real estate commission and all costs of closing and release of its mortgage
and any deficiency claim against the bankruptcy estate

6. `l‘he sale of the Real Property pursuant to any contract for sale approved
by lV|r. Cooper is contingent upon bankruptcy court approval after notice to all creditors

7. The Trustee has the absolute right to abandon the Real Property and

cancel the listing agreements with Bk G|oba| and Solell Sotheby’s international Realty at

any time

 

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8. The Trustee, Chad S. Paiva, is not executing either the listing agreement
with BK Giobal or the iisting agreement with Soieii Sotneby’s international Reaity in his
individual capacity, but solely as Bankruptcy Trustee of the iViichael Pagano bankruptcy
estate, BK Gioba| norr Soieil Sotheby’s |nternationa| Realty snaii have any right or claim
against the Trustee or bankruptcy estate for payment of any fees or costs should there
be no sale of the Real Property for any reason, and Bi< Global's and Soieii Sotheby‘s
international Realty's sole recourse for payment of reai estate commission, fees and
expenses shall be from the agreed upon surcharge to be paid by |Vir, Cooper at the
closing of the Bankruptcy Ccurt approved contract for sale of the Real Property.

9. This document may be signed in counterparts

 

Da,te, 2/19/2019

By: Ashiey i‘~'ranchini Soleii Sothebys internationai Reaity

D&te; Mj? §A%%/M

By: Patrick Butier, Bi< Globai

Date' 9 B`\ \C\

 

By: Chad Paiva Trustee in Banl<ruptcy for Niichaei Pagano

 

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UNITED STA'I`ES BANKRUPTCY COURT
SOUTHERN DISTRJCT OF FLORIDA

In rc: Chapter 7

Case No. 18-24646

Debtor
Michael Pagano

§)ECLARATION OF PATRICK BUTLER IN SUPPORT OF APPLICATI(}N
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND SOLEIL SOTHEBYS
INTERNATIONAL REALTY TO PROCURE CONSEN'I'ED PUBLIC SALE PURSUAN'I`

‘I`O 11 U.S.C. § 327, 328 ANB 330

The undersigned, Patrick Butler (“Dcclarant”) hereby states:

 

 

 

I. l am employed by BK Global Real Estate Services (“Applicant” or
“M§”), which is an entity duty licensed as a reai estate brokerage by the State of Florida
iocated at 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL 33487. l am
Applicant’s broker-in-charge and am authorized by Appiicant to submit this Deciaration on
Applicant’s behalf in support of the annexed Appiication to Retain BKRES and in accordance
with Bankrnptcy Ruie 2014.

2. Based upon the information discussed below, § believe that Appticant is a
disinterested person and does not hold or represent any interest adverse to the interest oi` the
Debtor’s estate as that term is defined in Section 101(14) of the Bankruptcy Code.

3. To the best of my knowiedge: (a) neither BKRES nor any of its
empioyees has any connection with the Debtor, its creditors in this case, the Chapter 7 Trustee,
the Ot`tice of the United States Trustee, or any employees thereof or any party in interest herein;
(b) BKRES and each of its empioyees are “disinterested persons,” as that term is defined in
Section 101(14) of the Bankruptcy Code; and (c) neither BKRBS nor any of its employees hold

or represent an interest adverse to the chtor’s estate.

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4. A description of the qualifications of, and services provided by, BKRES is
attached as Schedule l.

5. That l have read the application o:t` the Trustee regarding the retention and
compensation of B_KR.ES and agreed to be bound by the terms and conditions represented
therein

6. That f further understand that the Court, in its discretion, may alter the
terms and conditions of employment and compensation, as it deems appropriate

Veritied under penalty of perjury that the foregoing is true and correct this ’ZZ v day of
February, 2019.

/"'/f_____"Mlm

Paai'ck ntitl‘ér
Broker~in-Charge

The foregoing instrument Was sworn to and subscribed before me this l7{' day ot` February,

2019, by Patrick Butler who provided identification or is personally known to me and Who did

take an oath.

      

z rMi’Z’A/)

Notary Pubiic State of Florida

My Cornrnission Expires

     
 

Notery Pubitc Sta\e of Fiorida

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SCHEDULE I

BK Giobal Real Estate Services is a iicensed real estate brokerage by the State of Florida,
located at 1095 Broken Sound Parkway N.W., Suite 100, Boca Raton, Florida, 33487.

BK Global Real Estate Services has a strong background and extensive experience in
dealing with the mortgage servicing industry and is considered an expert in assisting in the
negotiations with secured creditors whose debt is in excess of the market value of the real
property and in negotiating short sales.

BK Giobal Real Estate Services has been providing real estate services to Chapter 7
bankruptcy trustees since 2014.

BK Global Real Estate Services has developed a process to assist Chapter 7 trustees in
the sale of over-encumbered real estate to obtain tire consent of the secured creditor to allow the
Chapter 7 trustee to sell the real property and to assist the Chapter 7 trustee in negotiating a carve

out for the bankruptcy estate that will provide a meaningful distribution to the unsecured
creditors..

BK Global Real Estate Services is to be retained by the Chapter 7 trustee pursuant to il
U.S.C. § 327. The first step is for BK Global Real Estate Services to assist the Chapter 7 trustee
in obtaining the consent of the secured creditor to ailow the Chapter 7 trustee to sell the secured
reai estate. Those negotiations will inciude establishing a carve-out of the sale proceeds to the
bankruptcy estate that will provide a meaningful distribution to unsecured creditors

in addition, a carve out will be established to pay a real estate commission to BK Global
Real Estate Services and a local real estate licensed broken In addition, as part of the
negotiations, the secured creditor will be required to waive the filing of any deficiency claim.

Once the Court has approved the retention of BK Global Real Estate Services and the

local real estate licensed broker, then the real property will be listed for sale at an agreed listing
price by tire secured creditor.

A motion will be filed to approve the settlement and compromise reached between the
Chapter 7 trustee and the secured creditor.

BK Global Real Estate Services has successfully assisted Chapter 7 trustees in 33 court
districts in the consented program BK Global Real Estate Services does this by achieving the
highest sale prices for properties as opposed to the more common “discounted sale” often
presented to secured creditors by less experienced service providers The transaction is never
consummated unless the carve~out percentage or fee is sufficient to provide a meaningful
distribution to unsecured creditors BK Global Real Estate Services has standards in the
mortgage industry whereby all parties can have a mutually beneficial outcome to the sale. The
sale of over-encumbered real estate in bankruptcy presents a superior outcome to atl parties

 

 

 

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° Unsecured creditors achieve a meaningful distribution on many more bankruptcy
cases than they do on ‘no asset’ cases;

* The Chapter 7 trustee is able to conduct these transactions in a very cost-effective
manner substantiating the carve-out amounts generated in these sales; and

* Secured creditors achieve more favorable recovery than they would via
foreclosure including minimized compliance risk.

Page 4~2 of the Handbook for Chapter 7 Trustee states that by virtue of 11 U.S.C. §
323 (a) the trustee is a representative of the estate. Purther, the handbook states, “The trustee is a
fiduciary charged with protecting the interest of all estate beneficiaries ~ narnely, all classes of
creditors, including those holding secured, administrative, priority and non-priority unsecured
claims, as well as the debtor’s interest in exemptions and in any possible surplus property.”

BK Globai Real Estate Services is a licensed Real Estate Broker and acts in the capacity
as a licensed agent/broken As a member oi` the real estate professional association, BK Globai
Reai Estate Services is permitted to work with local brokers and share fees for work conducted

Section 504(b) of the Bankruptcy Code permits the compensation BK Giobal Real Estate
Services receives for work conducted on a case.

BK Global Real Estate Services has developed a nationwide network of licensed real
estate brokers that arc trained in the sale of over-encumbered real estate in bankruptcy BK
Globai Real Estate Services co-lists the real estate with one of our local trained licensed brokers
The trustee hires both BK Global Real Estate Services and the local broker to perform the

required services The listing commission is split between BK Global Real Estate Services and
the local broken

For these fees, both BK Global Real Estate Services and the local broker share in the
duties that are required to conduct a consented sale in bankruptcy

BK Global Reaf Estate Services’ services include, but are not limited to, the following:

* Researching the real estate, running title and lien searches to identify creditors
for resolution and any title issues;

° Advising the trustee of any issues and discuss potential resolutions;

* Conducting the resolutions under the trustee’s direction;

' Assisting the trustee in the collection ot` documents and information for
employment

' Making contact with the secured creditor(s);

° Notifying them of the upcoming sale and identifying servicer requirements;

* Assisting the trustee in establishing market value and negotiating with the
servicer an acceptable series price and establishing a carve-out;

' Development of online marketing, email campaign and full nationwide
marketing services;

° Conducting on online sale;

 

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° Use of the technology platforrn;

Assist the trustee in the review of all offers and coordinate ‘the final

documentation of the offer accepted by the trustee;

Managing contract requirements such as inspections, appraisals and HOA

applications;

‘ Coordinating closings and assisting the trustee in the collection of required
information for court filing; and

° Ciosing the transaction and ensure the estate has received the appropriate funds.

Local broker services include, but are not limited t0:

’ Inspecting the property and completing a broker’s price opinion;
° Listing the property in the multiple listing service (MLS); and
" Posting a for sale sign in the yard and coordinating showings.

U.S. Bankruptcy Court Districts where BK Giobai Real Estate Services conducted
Consented Sales:

‘ Eastern District of Arkansas

° Central District of Califomia
° Eastern District of California
° Southern District of California
' i)istrict of Colorado

° District of Connecticut

' Middle District of Florida

‘ Southern District of Georgia
° District of Hawaii

° Northetn I)istrict of Iliinois

* Northern District of Indiana

' Southern District of lndiana

' Western District of Kentucky
' Eastern District of Louisiana
° Middle Distrlct of Louisiana
* Western District of Louisiana
° Distriot of Massachusetts

* District of Maryland

" Eastern District of Michigan
° Eastern District of North Carolina
° District of New Jersey

* District of Nevada

* Eastern District ofNeW York
' Northern District of Ohio

' Southern District of Ohio

* District of Oregon

 

 

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° Eastern District of Pennsyivania
° Middle District of Pennsylvania
° Western District of Pennsylvania
' Northern District of 'i`exas

* Western District of ’l`exas

* Western District of Washington

 

 

 

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southern District of Florida
Fort lauderdale

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Salt lake city U'l‘ 84130-0261

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Hest Cherry Hili NJ 08002-4618

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165 Lawrence Bell Drive South Suite
100

Willaimsville itt t4221-1900

Neu Penn Financial D!B/A Shell
point licrtgage Serviclng

15 Beat.le place

greensville SC 29601-2155

Port Royale Apts
3300 Port Royale Drlve
Fort lauderdale FL 33308-7919

lllldwsod Glass Ccmpany
2505 Nev Jersay Ave
ltorth Wilclwood NJ 00260-2557

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cfc Frenlcel Lambert et al

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Ban|r. 0£ lieu fork
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Hargate Water snd Sewez utility
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Margst.e NJ 08402-1239

Nationst.sr ltortgage LLC
PO Box 650'1‘03
Dallas Texas 75265»0'!83

Pioneer credit recovery Inc
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Arcade tit 14009-1012

Trystene Capital L¥.C
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Cherry Hill NJ 08003-2039

Hichael A Paganc
3209 North East 10 St ill
Ponpano Beach, FL 33062‘~3930

The preferred mailing address tp] above has been substituted for the following entity/entities as so specified
by said entity/entities in a ttotice of Add:ess filed pursuant to ll 0.S.C. 342{£) and Fed.R.Bank.P. 2002 tg| (~l).

Bank Of Anerica NA
00 Box 982238
EI Pase TX 79998

ind of I.al)el Matrix

Mailable recipients 23
Bypassed recipients 0
Total ` 23

 

 

